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                                                                               FILED
                                                                           IN CLERK'S OFFICE
                                                                     U.S. DISTRICT COURT E.D.N.Y.

                                          Malek Harrison             ^      JUN 1 y              "k
                                       242-19 135"" Avenue
                                                                      LONG ISLAND OFFICE
                                       Rosedale, NY 11422

                                           June 18,2019



                                          (516)467-7666




       Hon. LaShann DeArcy Hall

       United States District Court

       Eastern District of New York

        100 Federal Plaza

       Central Islip, NY 11722

                                                   Re: 14-CV-1296

                                                                                         JUN 19 201.9
                                                                                   SDMyPRO86OFFICE
       Dear Hon. Judge Hall,




           I am the Plaintiff, Malek Harrison, in the above-docket, which 1 must point out is
       inextricably linked to another identical case, Malek Harrison v. County of Nassau, et.
       al,, (15-CV-2712), which is currently before the 2"^* Circuit Court of Appeals
       (18-CV-3349). To truly understand how this case came to sit dormant since 10/2/17,
       as Magistrate Tomlinson has referred to in her June 3, 2019 Order, we find it
       necessary that the, newly-assigned. District Judge be brought fully up to date with the
       history of both cases and the extrajudicial activity on the part of the Defendants that
       has led directly to the delays, in this, the initial case giving rise to my original
       complaint of February 26, 2014. Plaintiffs Appellate Brief (18-cv-3349), fully
       explains and demonstrates in the Appendix, thereof, that Nassau Detective Ronald
       Rispoli, on 2/13/11, made a Request for DMV Photo Image, using my DMV client
       identification #793 689 053 (Exh. A), even prior to obtaining my name via the alleged
       complaining instrument, i.e.. Statement of Nils Renner, 2/15/11 (Exh. B). It is
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       altogether impossible for the Detective Rispoli to have Plaintiffs name and drivers
       license number prior to having 'witnessed' the alleged complaint, unless he forged the
       complaint after having chosen Malek Harrison as his victim. The forged Nils Renner
       statement/complaint, written more than a month after the alleged crime, standing
       alone, gives away the entire hoax, with its claim "I received an anonymous call from a
        Marshals (sic) employee and they stated that r/ieyrecognized the subject as Malek
       Harrison, a guy that he recognized from his neighborhood." This alleged "Statement
       of Nils Renner" goes on further to state "/ notified Detective Rispoli of the Nassau
       County Police Dept., Crimes Against Property Squad and gave him the information
       related to this case. During an initial investigation byDetective Rispoli, the subject
       was identified as Malek Harrison, with a date of Birth of May 1, 1988. He lives at
       225-04 145*'' Rd, Rosedale, NY 11413." Here the alleged complainant, Nils Renner,
       purports to write regarding the details of a Nassau County Police detective's
       investigation, which Defendants want the court to believe was shared with the
       complaining witness to aid him in the writing of his complaint. This court is being,
       likewise, led to believe that Nassau County Detective, Ronald Rispoli, shared and
       verified an alleged subject's name, which he has just been given by Nils Renner,
       Plaintiffs date of birth and address to a complaining witness for the purpose of
       writing said complaint. To the best of Plaintiffs knowledge, police may not give out a
       crime suspects name, date of birth and address to complainants or the employees of
       alleged victims. Finally, Plaintiffs uncle located Nils Renner and a conversation with
       Mr. Renner revealed that he was no longer employed by the Marmaxx Group, a
       division of TJX Companies, Inc., and was not employed, thereby, on the date and
       time of the alleged crime, nor did he, like the rest of the witnesses named in this
       forged complaint, Celeste Vasquez (9/25/13), or Maria Colace (9/27/13) had any
       recollection of the alleged crime. Det. Rispoli's forged complaint appears to have left
       out two (2) vital witnesses Defendants included later in the hoax; US Secret Service
       Agent Joseph Gertbino &Cashier, Christine Grimaudo, who. Defendants claimed to
       be out to lunch for and hour and a half when ADAs Abdenour and Sarowitz went to

       Marshall's (sic) "/o attempt to refresh Ms. Grimaudo's memory from the video
       footage of the incident." Conveniently, the ADAs left Marshalls be fore an interview
       with Ms. Grimaudo could be had. See County of Nassau, District Attorney's Office
       Inter-Departmental Memo {Appendix Of Appellant Malek Harrison: Exh. I), which
       goes on to say '"'"An anonymous tip identified the defendant as the person who used
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       counterfeit bills, but he wanted to remain anonymousfor safety reasons''' Therefore,
       Defendants are left with an anonymous tipster as the person relied upon for giving
        Detective Rispoli 'probable cause' to arrest the Plaintiff —an anonymous tipster Det.
        Rispoli has never spoken to? The memo confirms as much where it states "Nils
        Renner, the investigator for Marshalls, remembers the incident, but he was not
       immediately notified about the incident. He became involved afterthe store identified
       counterfeit money was used."" Defendant's attorney, Deputy County Attorney, Ralph J.
       Reissman, recently revealed the last pivotal witness to be left out of entire scenario,
       and states in his response to Magistrate Tomlinson's Order, "Defendants' counsel
       contacted the Secret Service by telephone on June 3, 2019 and was advised in
       subsequent telephone conferences that while Agent Gerbino has no recollection of
       the transaction at issue, the Long Island branch will endeavor to locate any relevant
       files or documents." Contrary to the Nassau County DA's Inter-Departmental Memo
       stating that '''the store identified counterfeit money was used," Detective Rispoli
       claimed that Secret Service Agent Joseph Gerbino determined that the nine $100
       bills used by Plaintiff in the Marshall's (sic) store was counterfeit," that agent
       disavows such claims. Additionally, neither the above forged Statement of Nils
       Renner (2/15/11) nor the aforementioned Inter-Departmental Memo mentions US
       Secret Service or Agent Gerbino (10/23/13) as having participated in any
       investigations of this matter, whatsoever. The US Secret Service angle was only an
       afterthought once Defendant's hand-picked attorneys, former Assistant District
       Attorneys Geoffrey Prime and later John Healy, were unable to obtain the plea
       bargains they were hired to railroad the Plaintiff into for these nonexistent crimes. The
       Memo goes on to say "Detective Rispoli remembers the incident, but he, like Nils
       Renner, only has second had (sic) knowledge of the incident." Of course Det.
       Rispoli remembers an incident he manufactured 'out of thin air' and along with the
       complaint he'd, obviously, written and forged in the name of Nils Renner, and their,
       so-called secondhand knowledge of the incident, acknowledged by the Memo,
       eliminates any possibility or claim of probable cause for an alleged crime where no
       witness or victim recalls the incident.




           Deputy County Attorney, Reissman states that "on June 12, 2019 defendants'
       counsel wrote to United States Secret Service ChiefCounsel Donna Cahill to request
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        her assistance in obtaining an Affidavit suitable to the Court." Imagine, despite
        the fact that Agent Gerbino doesn't recall such transactions, nor does his records, nor
        does the Long Island branch of the Secret Service, so Dep. County Attorney Reissman
        decides to approach the Secret Service's Chief Counsel in Washington, DC, to try to
        obtain cover for fake-crimes that never occurred. In other words, the Agent they
        claimed was involved said, like everyone else, he has no recollection of the incident,
        which has strengthened my argument that the crimes at Marshalls, and Target, for that
        matter, never occurred! Now, Reissman and Rep. Kathleen Rice are attempting to
        use her Congressional authority and the power of her office to have higher-ups in the
        Secret Service assist them in the cover up of the "fake-crimes prosecution scheme"
        utilized regarding an unsuspecting Marshalls victim. The fact Reissman is reaching
        out to US Secret Service attorneys in Washington DC headquarters, in the form
        Michael Becker & Chief Counsel Donna Cahill, says quite a lot that he's going to
       such extent to contact attorneys of the US Secret Service rather than the agents in
       charge of accessing the records that would otherwise prove whether any investigation
        ensued with respect to the alleged Marshalls case.A relatively insignificant crime, that
        was dismissed against the Plaintiff, has reached such a crisis level to necessitate the
       involvement of the Chief Counsel of the US Secret Service?      Where does it end, with
       the US President's nomination of US District Judge Joseph F. Bianco to the 2"^^
       Circuit Court of Appeals to reward him for averting a damaging trial exposing the
       criminal justice system and the Judicial process as a complete charade designed to
       subjugate Blacks, Latinos and other nonwhites to "Slavery By Another Name" i.e.,
       "The Prison Industrial Complex?" What has Magistrate Tomlinson garnered for
       clear bias and her Report And Recommendation in granting 'Probable Cause' where
       none exist, since the alleged Marshalls & Target crimes were nonexistent? The
       Defendants' plan, therefore, is to use corruption to influence bureaucrats to sanction
       Nassau County Defendant's illicit "Fake-Crimes Prosecution Scheme" utilized in the
        Marshalls and Target cases against the Plaintiff. It's obvious that protecting Rep.
       Kathleen Rice and the "Fake-Crimes Prosecution Scheme" of Nassau County is
       paramount for Defendants, since such revelations present a 'national security interest'
       nightmare, so much as it exposes the public to indisputable evidence of the existence
       of "Slavery By Another Name" through the government cover up of America's best
       kept secret, which is akin to Neo-Slavery and the illegal slavery plantation trials ofthe
       early 20^*^ Century. See Bailey v. Alabama, 219 U.S. 219(1911), was a United States
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        Supreme Court case that overturned the peonage laws of Alabama. The Supreme
        Court considered the validity of the Alabama state court's ruling that Alabama statute
       (§ 4730 of the Code of Alabama of 1896, as amended in 1903 and 1907) was
       constitutional.




            As to the Dormancy of the case since October 2, 2017, a decision was made by
        the Defendants to set aside the current case to ensure that it wouldn't be compared
        with the alleged May 24, 2012 Target Department Store case, which bears striking
       similarities with the misconduct demonstrated in the current case and the Defendants'

        desire to rid themselves of the participation of Malek Harrison's uncle Patrick
        Harrison, which they were able to accomplish on May 30, 2019, with his illegal
        removal from the United States to Jamaica by using a falsified birth date and place of
        birth. See Civil Conference Minute Order, 10/2/17, paragraph 9, whereby the
        Defendants' intent to remove Plaintiffs uncle, Patrick Harrison, was made abundantly
       clear and the biased ruling of Magistrate Tomlinson acquiesced with their demands,
       ruling that Patrick Harrison could not aid his nephew and any attempt for him to do so
        would result in his removal from the deposition room. It was at that very moment the
        Defendant's aim became to remove Plaintiffs uncle from the country,"by any means
        necessary." On October 17, 2017, Plaintiffs uncle advised Attorney Reissman, by
                                                             iK
       email, that Malek Harrison would be exercising his 5 Amendment Right if forced to
        participate in any forthcoming deposition. The case was shelved, in Plaintiffs opinion,
       to give Rep. Kathleen Rice the opportunity to utilize her Department of Homeland
        Security Chair of the Subcommittee on Border Security, Facilitation, and Operations
       to get his uncle out of the country illegally. She secured a position for her accomplice
       and former Nassau County District Attorney's Law Assistant, Carolyn Abdenour,
        who worked on Plaintiffs prosecution, a job, with US Citizenship & Immigration
        Services (USCIS), to obtain access to Patrick Harrison's file in order to manipulate
       information and to secure Mr. Harrison's removal from the country because of his
       efforts in Plaintiffs case that threatened to expose Rice, ADA Abdenour and the
       Defendantsand the "fake-crimes prosecution scheme" engaged in and the high
       probability that they would be charged criminally for her misconduct. Plaintiffs
       uncle filed a federal complaint against Rep. Kathleen Rice, October 26, 2018, namely
       Patrick R. Harrison v. Rep. Kathleen Rice , et.al. (18-cv-9913), after another USCIS
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       employee, M. Pardo-Figueroa, posed as an ICE agent, who was determined to ensure
        Mr. Harrison, a Cuban national would be removed, illegally to Jamaica, where he
        would be subject to a complicit and corrupt Jamaican consular authority who
       authorized an Emergency Passport depicting a manufactured date of birth and place of
       birth and without the required interview process to determine Mr. Harrison's
       nationality. As soon as Patrick Harrison was removed out of the United States and
       to Jamaica, May 30, 2019, Magistrate Tomlinson, miraculously, issued an Order on
       June 3, 2019, reviving the case that was, inexplicably, dormant since October 2, 2017.
       Plaintiff wrote to Judge Bianco numerous times prior and even sought the
        Magistrate's recusal, which was, summarily, disregarded and dismissed. Plaintiff also
       file a complaint against Magistrate Tomlinson, which was also dismissed. In fact.
       Judge Bianco's impromptu and unsupported nomination to the 2"^ Circuit smacks of a
       payoff to ensure that Congresswoman's "Fake-Crimes Prosecution Scheme" is
       covered up to ensure the continued enslavement of innocent Blacks and nonwhites
       into "The Prison Industrial Complex."       Magistrate Tomlinson's, unquestionably,
       biased participation in these two (2) cases all but guarantees Plaintiff will not be
       afforded a fair trial and her unchecked resilience in shrugging off Plaintiffs numerous
       complaints says much more about the legitimacy of the judicial process and the courts
       that the public needs to know about.




            Plaintiffs decoding of Deputy County Attorney Reissman's directives to
       magistrate Tomlinson, 6/17/19 gives a clear indication to me he's letting her know
       that the Secret Service Agent Gerbino won't cooperate with Nassau County in
       admitting their fake Marshalls Crime occurred and that He's trying to get top officials,
       in the Service's,legal departments to either convince Agent Gerbino he won't lose his
       job or be prosecuted by lying on behalf of Nassau County.




           "Defendant Detective Ronald Rispoli claimed that US Secret Service Agent
            Joseph Gerbino determined that the nine $100 bills used by the plaintiff in the
                Marshall's store on January 12, 2011 were counterfeit. Defendant's counsel
                contacted the Secret Service by telephone on June3, 2019 and was advised in
                subsequent telephone conferences that while Agent Gerbino has NO
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            RECOLLECTION of the transaction at issue, the Long Island branch office will
            endeavor to locate any relevant files or documents."




            Dep. Atty Reissman went on further to state:




           "On June 11th 2019 Secret Service attorney Michael Becker of the Washington
            headquarters advised defendant's counsel that he expects to furnish an affidavit
            once he concludes his investigation. On June 12th 2019 defendant's counsel wrote
            to the United States Secret Service Chief counsel Donna Cahill to request her
            assistance in obtaining an Affidavit suitable to the Court."




            In other words, the Agent they claimed was involved said, like everyone else, he
        has no recollection of the incident, which has validated my argument that the crimes
        at Marshalls and Target never occurred! Now, Reissman and Rep. Kathleen Rice are
       attempting to use her Congressional authority and the power of her office to have
        higher-ups in the US Secret Service help cover up the "fake-crimes prosecution
       scheme" utilized regarding an unsuspecting and unbeknownst Marshalls victim. The
       fact Reissman is reaching out to US Secret Service attorneys in its Washington DC
        headquarters, suchas Michael Becker & Chief Counsel, Donna Cahill, says quite a lot
       that he's going to such extent to contact attorneys of the Secret Service rather than the
       agents in charge of accessing the records that would otherwise prove that an
       investigation ensued with respect to the alleged Marshalls case. Dep. Reissman is
       reaching out to the lawyers of the Secret Service, instead of the Agents in charge of
       accessing the records in June of 2019, 8 years after an alleged investigation! WHY?
       He knows those records does NOT exist & the ONLY ONES authorized to 'cook the

       books' is the upper echelon lawyers & directors in DC who might be inclined to take
       their 'marching orders' from a US House of Representative. Ask any rational person
        why a little case from Elmont, like Malek Harrison's Marshalls case, require the
       attention/fix from the Chief legal counsel in DC? Is Rep. Kathleen Rice and her
       cohorts trying to fix this case in the name of a "national security emergency," because
       of how the truth would impact the general public. Certainly, everyone would lose
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       confidence in the criminal justice system and the courts if it was made known how
       they're operating utilizing this "Fake-crimes Prosecution Scheme" and targeting or
       racial profiling, discriminatorily, while this"policing for profit" agenda is being used
       against minorities in this country and covered up by lawyers/judges and/or the Bar
        Association.




           Plaintiffs experience, and that of his family's, in dealing with the criminal justice
       system, leaves him mistrustful of everyone associated with law enforcement, the
       judicial process, and the court. Your Honor not excluded. That is, despite the fact that
        you are an Obama-appointee, and Black like me, can we really expect fairness,
       considering what's at stake if a trial was to be allowed regarding the Defendants' use
       ofthe"Fake-Crimes     Prosecution    Scheme"     by   a   Democratic     United   States
       Congresswoman and its political implications or fallout, not to mention, the ripple
       effect it would have nationwide, if the general public were to be made aware of the
       specifics of the scheme. The occurrence of such atrocities and what impact such
       misconduct and corruption has on the crime statistics, both locally and nationally,
       would ignite a firestorm the likes of which have never been seen before in this
       country. Likewise, how many more Malek Harrisons would emerge, if such a trial
       were to take place? Your assignment to this case, we hope, ensures justice, finally. An
       order to hold a well-deserved trial, would all but guarantee that Defendants and
       Plaintiff agree to sit down, at 'the negotiation-table', to engage in a confidential
       settlement agreement and to put this matter to rest once and for all. Atop Plaintiffs
       list of non-negotiable positions is that his uncle Patrick Harrison be returned, and be
       restored to his family in the United States, as a show of goodwill, on the part of the
       Defendants.


                                                        Respectfully Submitted,



                                                        Malek Harrison, Pro se

                                                        242-19 135th Avenue

                                                        Rosedale, NY 11422

                                                        Tel:(516)467-7666
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